     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 1 of 57 Page ID #:816


1    Reuven L. Cohen (Bar No. 231915)
     rcohen@cohen-williams.com
2    Alyssa D. Bell (Bar No. 287751)
     abell@cohen-williams.com
3    Michael V Schafler (Bar No. 212164)
     mschafler@cohen-williams.com
4    COHEN WILLIAMS LLP
5    724 South Spring Street, 9th Floor
     Los Angeles, CA 90014
6    Telephone: (213) 232-5160
     Facsimile: (213) 232-5167
7
8    Attorneys for Defendant
     FRANZ GREY
9
                               UNITED STATES DISTRICT COURT
10
11                        CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA                   Case No. 2:18-CR-00412-CAS
13
           Plaintiff,                           NOTICE OF MOTION AND
14                                              MOTION FOR RETURN OF
           vs.                                  PROPERTY
15
     FRANZ GREY                                 Date: January 25, 2021
16                                              Time: 1:30 p.m.
           Defendant.                           Judge: Hon. Christina A. Snyder
17
                                                [Proposed Order filed concurrently
18                                              herewith]

19
20
21
22
23
24
25
26
27
28
                                              1
                                MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 2 of 57 Page ID #:817


1            TO UNITED STATES ATTORNEY NICOLA T. HANNA AND ASSISTANT
2    UNITED STATES ATTORNEY KEVIN B. REIDY:
3            PLEASE TAKE NOTICE that on January 25, 2021, at 1:30 p.m., or as soon
4    thereafter as they matter may be heard, in the courtroom of the Honorable Christina A.
5    Snyder, United States District Judge, defendant Franz Grey will bring on for hearing the
6    following motion:
7
8                                             MOTION
9            Defendant Franz Grey, by and through his retained counsel, Reuven L. Cohen,
10   Alyssa D. Bell, and Michael V Schafler, hereby moves this Honorable Court for an order
11   directing the government to return money and other property unlawfully seized from his
12   residence at the time of his arrest.
13           Following the Ninth Circuit Court of Appeals’ affirmance of this Court’s suppression
14   of evidence in this case, the government has dismissed its charges against Mr. Grey.
15   Nevertheless, the government has not returned all of the property it illegally seized from
16   Mr. Grey’s home in May 2018. In pre-filing discussions, the government has contended
17   that it does not have, and has never had, the property that Mr. Grey seeks herein in its
18   possession. (Cohen Decl. at ¶ 12.) Yet, a Special Agent of the Federal Bureau of
19   Investigation has publicly admitted, in a recorded interview, that law enforcement seized
20   approximately $500,000.00 from Mr. Grey’s residence, only $270,000.00 of which it has
21   returned. Pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure, Mr. Grey
22   now seeks the return of all evidence – including $230,000.00 in cash, gold coins, silver
23   dollars, other precious metals, and jewelry (family heirlooms, including a Patek Philippe 18
24   KT skeleton pocket watch) – seized by law enforcement pursuant to illegal searches of his
25   home.
26           //
27           //
28           //
                                                2
                                  MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 3 of 57 Page ID #:818


1          This motion is based on the attached Memorandum of Points and Authorities, the
2    accompanying Declarations and Exhibits, all files and records in this case, and any
3    evidence and argument as may be presented at the hearing on the motion. Additionally, to
4    the extent the government submits admissible evidence sufficient to dispute the facts stated
5    in Mr. Grey’s Motion, an evidentiary hearing is necessary to resolve any such disputes.
6
7                                                  Respectfully Submitted,
8    Dated: December 23, 2020                      COHEN WILLIAMS LLP
9
10                                                 By: /s/ Alyssa D. Bell
                                                       Reuven L. Cohen
11                                                     Alyssa D. Bell
                                                       Michael V Schafler
12                                                     Attorneys for Defendant,
                                                       FRANZ GREY
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              3
                                MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 4 of 57 Page ID #:819


1                     MEMORANDUM OF POINTS AND AUTHORITIES
2                                      I.   INTRODUCTION
3          In May 2018, law enforcement subjected Franz Grey to repeated unlawful searches
4    of, and seizures from, his home. These unconstitutional law enforcement activities not only
5    led to Mr. Grey’s wrongful arrest and prosecution – which finally ended when the Ninth
6    Circuit Court of Appeals affirmed this Court’s suppression of the evidence derived from
7    the unlawful searches – but also the illegal seizure of his life savings, including
8    $500,000.00 in cash, precious valuables, and treasured family heirlooms.
9          Although Mr. Grey’s case is over, one issue remains unresolved: the return of all of
10   the money and valuables seized from Mr. Grey without justification. Since his arrest, Mr.
11   Grey has consistently claimed that the government seized not less than $500,000.00 in
12   cash, gold coins, silver dollars, precious metals, and jewelry from his home. To date, the
13   government has returned approximately $270,000.00. But it has refused to acknowledge
14   that it seized the remaining $230,000.00, refused to acknowledge that it ever took
15   possession of Mr. Grey’s valuable personal property, and refused to return anything further
16   to Mr. Grey.
17         The government’s position is squarely contradicted by the recorded statements of its
18   own agent, Federal Bureau of Investigation (“FBI”) Special Agent Tony Logan, who was
19   present at, and involved in, the unlawful searches of Mr. Grey’s residence. Speaking on the
20   podcast “Best Case Worst Case,” Special Agent Logan, who described Mr. Grey’s case in
21   detail, stated that agents seized approximately $200,000-250,000.00 from Mr. Grey’s house
22   during their first search and then, during a second search, seized an additional $200,000-
23   300,000.00. (Declaration of Reuven L. Cohen (“Cohen Decl.”), at Exhibits 9 (Podcast at
24   33:35, 34:00) and 10 (Transcript at 2:9-10, 2:12-14).)
25         Mr. Grey now seeks the return of all his unlawfully seized property – to have what is
26   rightfully his restored. The government’s contention that it did not seize, and does not
27   possess, Mr. Grey’s money and property is belied both by Mr. Grey’s contemporaneous
28   claim and the statements of the government’s own agent. The burden is on the government
                                               1
                                 MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 5 of 57 Page ID #:820


1    to overcome the ample evidence presented herein. In the face of Mr. Grey’s evidence,
2    including Special Agent Logan’s recorded admission, it cannot carry that burden.
3          For these, and the reasons further stated herein, Mr. Grey respectfully requests that
4    the Court grant his motion for return of property pursuant to Federal Rule of Criminal
5    Procedure 41(g), or set an evidentiary hearing.
6             II.   STATEMENT OF FACTS AND PROCEDURAL HISTORY
7          A. Mr. Grey’s Property
8          Mr. Grey does not use banks and stores his life savings in his home, locked in a safe.
9    (See Declaration of Franz Grey (“F. Grey Decl.”) at ¶ 2.) That safe is located in Mr. Grey’s
10   bedroom, inside a closet door, and is secured with a combination lock. (Id.)
11         In May 2018, Mr. Grey had approximately $500,000.00 in cash stored in his safe.
12   (Cohen Decl., Exhibits 14, 15.) Cash was not Mr. Grey’s sole means of saving for the
13   future, however. Mr. Grey believes that precious metals are an important, long-term
14   investment, which will appreciate over time, and he regularly purchases them to maintain
15   and promote his financial security. (F. Grey Decl. at ¶ 3.) Mr. Grey keeps his precious
16   metals collection in his safe, and, in May 2018, Mr. Grey had gold and silver coins totaling
17   approximately $13,200.00 in value, and assorted additional precious metals including
18   palladium, worth approximately $80,000.00, stored therein. (Id. at ¶¶ 6, 7; Declaration of
19   Danielle Thompson at ¶ 5.)
20         In addition to his own savings, Mr. Grey stored his family’s generational wealth,
21   including precious family heirlooms, in his safe. (F. Grey Decl at ¶ 5; Declaration of Rose
22   Marie Grey at ¶ 3.) These included a rare, gold Patek Philippe 18 KT skeleton pocket
23   watch – passed down to him from his mother, and from her father before her – with an
24   approximate value between $34,000.00 and $57,000.00, and a gold ring that had been in
25   Mr. Grey’s family since the Civil War. (F. Grey Decl. at ¶ 5.)
26         As discussed below, Mr. Grey’s entire life savings, and all his family heirlooms,
27   were seized when the government executed a series of unlawful searches of his home.
28
                                                2
                                  MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 6 of 57 Page ID #:821


1          B. The First Unlawful Search
2          On May 1, 2018, the City of Lancaster applied for, and obtained, a warrant to inspect
3    Mr. Grey’s property for potential violations of the City’s municipal code from the Los
4    Angeles County Superior Court (“LASC”). (Dkt. 18-2 at Exhibit A.) Two days later, on
5    the morning of May 3, 2018, nine armed deputies of the Los Angeles County Sheriff’s
6    Department (“LASD”) approached Mr. Grey’s property under the guise of executing the
7    administrative warrant. (Dkt. 18 at 7.) Prior to doing so, the deputies arrested and
8    questioned Mr. Grey. (Id., Exhibit C, E.) Then, using his keys, they entered and searched
9    his home. (Id., Exhibit F.)
10         C. The Second Unlawful Search
11         Later the same day, subsequent to the initial search, the LASD sought and obtained a
12   criminal search warrant. LASD deputies then re-entered Mr. Grey’s home in the afternoon
13   of May 3, 2018. (Id., Exhibit C.) Following this second search, federal law enforcement
14   officials joined the investigation and took custody of the seized evidence. According to the
15   Complaint later filed against Mr. Grey, pursuant to the May 3rd search, officers seized
16   approximately $239,699.00 in U.S. currency from his residence, among other property.
17   (Dkt. 1 at 6.) Though absent from the Complaint, in a supplemental report of the May 3
18   incident, dated May 17, 2018, LASD stated that – in addition to the substantial sums of
19   money taken from Mr. Grey’s property – “yellow metal” jewelry and approximately 40
20   silver dollars of multiple vintages were seized. (Cohen Decl. at ¶ 8, Exhibit 8.)
21         Additionally, in the video taken during the search of Mr. Grey’s home, LASD
22   deputies can be heard identifying “coins” found in Mr. Grey’s safe, and the same is
23   reflected in still frames and evidence photos attached hereto. (Cohen Decl. at ¶ 8, Exhibits
24   13 (Evidence Video at 3:42), 14 (Still Frames), and 15 (Evidence Photos).)
25         D. The Third Unlawful Search
26         A third search of Mr. Grey’s property was conducted on May 31, 2018. (Dkt. 1 at
27   9.) Again, federal officials participated in the search. (Dkt. 1 at 3.) According to the
28   Complaint, approximately $40,000.00 in U.S. currency was seized from Mr. Grey’s home
                                                 3
                                   MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 7 of 57 Page ID #:822


1    at that time. (Dkt. 1 at 10.) However, per the Search Warrant Inventory, an “undetermined
2    amount of currency” was seized. (Cohen Decl. at ¶ 8, Exhibit 7.)
3          D. The Charges Against Mr. Grey
4          Mr. Grey was subsequently charged with one count of felon in possession of a
5    firearm in violation of 18 U.S.C. § 922(g)(1) and one count of possession of an
6    unregistered firearm in violation of 21 U.S.C. § 5861(d). (Dkt. 11.) On July 23, 2018, Mr.
7    Grey moved to suppress all physical evidence uncovered following the unlawful, initial
8    search of his home conducted by LASD and the City of Lancaster on May 3, 2018. (Dkt.
9    18.) On September 13, 2018, this Court granted the motion to suppress, over the
10   government’s opposition, finding that the initial search was unreasonable and that all
11   evidence seized thereafter was fruit of the poisonous tree. (Dkts. 25, 53.)
12         The government appealed the decision to the Ninth Circuit, and, on May 27, 2020,
13   the Ninth Circuit affirmed this Court’s reasoned judgment. (Dkts. 55, 89.) Thereafter, on
14   June 18, 2020, the government moved to dismiss the indictment, and this Court dismissed
15   the indictment the same day. (Dkts. 91, 93.) Plainly, at this juncture, the government has
16   no justification for retaining any money or property seized from Mr. Grey.
17         E. Mr. Grey’s Claims for Return of His Property
18         Mr. Grey has maintained, throughout this case, that the government seized
19   $500,000.00 in cash, precious metals, gold and silver coins, gold jewelry, and other items
20   of value from him pursuant to its unlawful searches of his home. (See F. Grey Decl. at ¶¶
21   4-8.) He has made diligent, concerted efforts to achieve his property’s return. On July 2,
22   2018, Mr. Grey filed a pro se motion for return of property in LA Superior Court, Case No.
23   MA073946. (Cohen Decl. ¶ 2 at Exhibit 1.) Therein, Mr. Grey sought the return of
24   various items of value taken from his residence, including $500,000.00 in cash, silver
25   dollars, gold coins, and other precious metals. (Id., at 3.) The motion was summarily
26   denied. (Cohen Decl. at ¶ 3, Exhibit 2.)
27         On July 18, 2019, pursuant to a subsequent request, this time directed to the FBI, the
28   government returned a portion of the seized cash: $239,699.00. (Id. at ¶ 5, Exhibit 4.)
                                              4
                                MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 8 of 57 Page ID #:823


1    Then, on August 27, 2019, the government returned an additional $42,415.00 in unlawfully
2    seized funds. (Id. at ¶ 7, Exhibit 6.)
3          Although the government has returned a portion of the money unlawfully seized
4    from Mr. Grey, it has refused to acknowledge, let alone return, the balance of the
5    $500,000.00 that remains outstanding, nor any of Mr. Grey’s valuables, claiming that it has
6    nothing more in its possession. (Cohen Decl. at ¶ 12.) The admissions of its own agent
7    belie this contention.
8          Subsequent to returning approximately $270,000.00 to Mr. Grey, the case agent, FBI
9    Special Agent Tony Logan, admitted that agents seized approximately $200,000-
10   250,000.00 from Mr. Grey’s house during their first search, and then seized an additional
11   $200,000-300,000.00 during a subsequent search that occurred approximately two weeks
12   later. Speaking on the podcast entitled “Best Case Worst Case,” Special Agent Logan
13   discussed Mr. Grey case in detail. 1 (Exhibits 9 (Podcast at 34:00) and 10 (Transcript at
14   2:12-14.) He had a clear recollection of the case and provided numerous specifics about
15   Mr. Grey, his history, his home, the charges against him, and the searches at issue. Most
16   pertinent here, he made the following statements:
17             • “Every time they, they hit his house the first time, he had like 200-250,000
18                dollars cash in his safe.” (Exhibits 9 (Podcast at 33:35) and 10 (Transcript at
19                2:8-10).)
20             • “And the second time, when I was there, they hit his house again, and this was
21                only like two weeks later. He had another 2 or 300,000 dollars of cash.”
22                (Exhibits 9 (Podcast at 34:00) and 10 (Transcript at 2:12-14).)
23
24
25
     1
       Curiously, the interview in which Special Agent Logan made his admissions regarding the
26   seizure of additional funds from Mr. Grey, Episode 140, has been removed from the episode
     listing and is no longer available online. (See Cohen Decl. at ¶ 9.) By contrast, a second interview
27   from October 11, 2019 (Episode No. 146), which also features Special Agent Logan on the Best
     Case Worst Case podcast but does not include a discussion of Mr. Grey’s case remains available.
     (Id.) Mr. Grey is seeking as part of pre-hearing discovery all evidence of communications
28   between Special Agent Logan and/or any government agent, official or employee and
     representatives of the podcast.
                                                5
                                  MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 9 of 57 Page ID #:824


1          Upon learning of Special Agent Logan’s admissions, which corroborate Mr. Grey’s
2    consistent claims regarding the amount of funds taken from his home, defense counsel
3    contacted the FBI seeking the return of the outstanding funds. (Cohen Decl. at ¶ 10,
4    Exhibit 11.) In an effort to meet and confer, defense counsel provided an overview of the
5    facts and law supporting Mr. Grey’s request. (Id.) Counsel for the FBI indicated that the
6    government does not have Mr. Grey’s money or property, and will not compensate Mr.
7    Grey for his losses. (Id. at ¶ 12.) This Motion follows.
8                                       III.   ARGUMENT
9          A. Legal Standards
10         “A person aggrieved … by the deprivation of property may move for the property’s
11   return.” Fed. R. Crim. P. 41(g). The burden of proof for a Rule 41(g) motion depends on
12   when the defendant files the motion. “When a motion for return of property is made before
13   an indictment is filed (but a criminal investigation is pending), the movant bears the burden
14   of proving both that the [property’s] seizure was illegal and that he or she is entitled to
15   lawful possession of the property.” United States v. Martinson, 809 F.2d 1364, 1369 (9th
16   Cir. 1987) (citations omitted). However, that burden of proof changes when “the property
17   in question is no longer needed for evidentiary purposes, either because trial is complete,
18   the defendant has pleaded guilty, or … the government has abandoned its investigation.”
19   Id. At that time, the burden of proof shifts, and the defendant “is presumed to have a right
20   to [the property’s] return, and the government has the burden of demonstrating that it has a
21   legitimate reason to retain the property.” Id (emphasis added); see also United States v.
22   Kriesel, 720 F.3d 1137, 1144 (9th Cir. 2013) (explaining that a “defendant’s Rule 41(g)
23   motion should presumptively be granted if the government no longer needs the property for
24   evidence.”) (internal quotation marks and citation omitted).
25         “The government can rebut the presumption that property ought to be returned by
26   proving a ‘legitimate reason’ for retaining the property that is ‘reasonable [ ] under all of
27   the circumstances.’” United States v. Gladding, 775 F.3d 1149, 1152 (9th Cir. 2014)
28   (quoting Kriesel, 720 F.3d at 1145); see also United States v. Kaczynski, 416 F.3d 971, 974
                                               6
                                 MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 10 of 57 Page ID #:825


1    (9th Cir. 2005) (“[T]he government has the burden of showing that it has a legitimate
2    reason to retain the property.”) (quotation marks omitted); Ramsden v. United States, 2
3    F.3d 322, 326 (9th Cir. 1993) (explaining that “reasonableness under all of the
4    circumstances must be the test when a person seeks to obtain the return of property.”)
5    (internal quotation marks and citation omitted).
6          “The simplest way for the government to carry its burden is to prove ‘the property ...
7    is contraband or subject to forfeiture.’” Gladding, 775 F.3d at 1152 (citation omitted); see
8    also United States v. Fitzen, 80 F.3d 387, 389 (9th Cir. 1996) (“It is well-settled that the
9    federal government may defeat a Rule [41(g)] motion by demonstrating that the property is
10   subject to federal forfeiture.”). “To that end, district courts ‘must receive evidence on any
11   factual issue necessary to decide the motion.’” Id. (citing Fed. R. Crim. P. 41(g)). “The
12   government can therefore carry its burden by submitting evidence that demonstrates the
13   property is contraband or the property falls within the court’s forfeiture order.” Id.
14         B. The government has no legitimate reason for retaining Mr. Grey’s
15             unlawfully-seized funds and valuable personal property, and must return
16             them to him forthwith.
17         Here, the government cannot possibly establish a basis to retain the unlawfully-
18   seized funds and property. It has moved to dismiss the case against Mr. Grey in the
19   interests of justice, and the case has been dismissed. (Dkts. 91, 93.) There is no ongoing
20   investigation or prosecution. Nor has an order of criminal or civil forfeiture been imposed.
21         The sole question for this Court, therefore, is whether the government has (or had)
22   Mr. Grey’s money and valuables – if it does, that property must be returned.
23         Mr. Grey’s Motion and the accompanying evidence establishes his claim that the
24   government unlawfully seized $500,000.00 in cash, as well as gold jewelry (valued
25   between $34,000.00 and $57,000.00), 7 one-ounce gold coins (valued at $1,900.00 per
26   coin), 20 silver coins (valued at $660), and other precious metals worth nearly $80,000.00,
27   from him. Ample, direct and circumstantial evidence corroborates his claims. The
28   government’s own incident report, and video of its unlawful search, confirm that gold and
                                               7
                                 MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 11 of 57 Page ID #:826


1    silver coins, and gold jewelry, was seized from Mr. Grey’s home on May 3, 2018. (Cohen
2    Decl., Exhibits 7 and 8.) Special Agent Logan has, likewise, has admitted that agents
3    seized approximately $500,000.00 from Mr. Grey’s residence during the May 3 and May
4    31, 2018 searches. (Cohen Decl. at ¶ 9.) Mr. Grey has therefore established that he is
5    entitled to the return of the money and property at issue in this Motion.
6          To the extent that the government now seeks to disavow its incident report, video
7    footage of the search, and Special Agent Logan’s admissions, this Court should not accept
8    its representations. See Gladding, 775 F.3d at 1153 (reversing district court’s denial of
9    defendant’s Rule 41(g) motion where district court concluded that it was “satisfied” with
10   the government’s “representations” because “representations are not evidence, unless
11   adopted by the opponent.”). Rather, to meet its burden, the government must adduce
12   credible evidence demonstrating that it did not seize the $217,886.00 balance of Mr. Grey’s
13   funds, nor unlawfully take possession on his precious metals and valuables. It must also
14   show that Mr. Grey, his mother, his sister-in-law, Special Agent Logan, and other of its
15   agents are not credible. If it cannot do so, the Court must grant Mr. Grey’s motion pursuant
16   to Rule 41(g).
17         If (and only if) the government can come forward with admissible evidence
18   sufficient to dispute Mr. Grey’s evidence, the Court must hold an evidentiary hearing to
19   decide this question. See Fed. R. Crim. P. 41(g).
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //
                                               8
                                 MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 12 of 57 Page ID #:827


1                                     IV.    CONCLUSION
2          For the foregoing reasons, Mr. Grey respectfully requests that the Court grant this
3    motion for the return of property, or set an evidentiary hearing forthwith.
4
5                                                  Respectfully Submitted,
6    Dated: December 23, 2020                       COHEN WILLIAMS LLP
7                                                   By: /s/ Alyssa D. Bell
                                                        Reuven L. Cohen
8                                                       Alyssa D. Bell
                                                        Michael V Schafler
9                                                       Attorneys for Defendant,
                                                        FRANZ GREY
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               9
                                 MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 13 of 57 Page ID #:828


1                            DECLARATION OF REUVEN L. COHEN
2          I, Reuven L. Cohen, declare:
3          1.     I am over the age of eighteen and am an attorney duly licensed to practice law
4    in the State of California. I am a partner at Cohen Williams LLP and am retained counsel
5    for Franz Grey. I make this declaration in support of Mr. Grey’s Motion for Return of
6    Property. This declaration is based upon my personal knowledge and based on the files and
7    records in this case. If called upon to testify as to the matters set forth in this declaration, I
8    could and would do so.
9          2.     On July 2, 2018, Mr. Grey filed a pro se Motion for Return of Property in Los
10   Angeles Superior Court, Case No. MA073946. Attached hereto as Exhibit 1 is a true and
11   correct copy of the motion.
12         3.     On July 19, 2018, the motion was denied, and on September 12, 2018, the
13   Clerk gave notice that no further action would be taken on the motion. Attached hereto as
14   Exhibit 2 is a true and correct copy of the Order and Clerk’s Notice.
15         4.     On February 26, 2019, I sent a forfeiture demand on behalf of Mr. Grey to the
16   Federal Bureau of Investigation (“FBI”) requesting the return of $239,699 in U.S. currency
17   taken from his house on May 3, 2018. Attached hereto as Exhibit 3 is a true and correct
18   copy of the letter.
19         5.     On July 18, 2019, my paralegal met with FBI agents at Wells Fargo at which
20   time the funds were returned. Attached hereto as Exhibit 4 is a true and correct copy of the
21   Property Receipt for the return of the $239,699 in U.S. currency.
22         6.     On August 21, 2019, I sent a forfeiture demand on behalf of Mr. Grey to the
23   Federal Bureau of Investigation (“FBI”) requesting the return of $40,000 in U.S. currency
24   taken from his house on May 31, 2018. Attached hereto as Exhibit 5 is a true and correct
25   copy of the letter.
26         7.     On August 27, 2019, my paralegal met with FBI agents at Wells Fargo at
27   which time $42,415 in seized funds were returned. Attached hereto as Exhibit 6 is a true
28   and correct copy of the Property Receipt for the return of the $42,415 in U.S. currency.
                                                 1
                                   MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 14 of 57 Page ID #:829


1          8.     I have reviewed the Search Warrant Inventory from the May 31, 2018 seizure
2    provided as discovery in this case (Bates 00000717). Per the Inventory, an undetermined
3    amount of cash was seized. Attached hereto as Exhibit 7 is a true and correct copy of the
4    Search Warrant Inventory. Additionally, I have reviewed LASD’s Supplemental Report of
5    the May 3, 2018 seizure, which delineates the precious metal seized on that date, and
6    evidence photos of the precious metals seized. Attached hereto as Exhibit 8 is a true and
7    correct copy of the Supplemental Report. I have also reviewed LASD’s evidence video of
8    the seizure. In the video, beginning at approximately minute 3:42, the deputies identify
9    certain items found in Mr. Grey’s safe as “coins.” A true and correct copy of the video will
10   be concurrently submitted as Exhibit 13. Still frame images of the video are attached
11   hereto as Exhibit 14. True and correct copies of LASD evidence photos of the same items
12   are attached hereto as Exhibit 15.
13         9.     In November 2019, it came to my attention that an FBI agent had made
14   statements regarding Mr. Grey’s case and the seizures of currency from his house on the
15   podcast Best Case Work Case. The episode was recorded on or about August 30, 2020 and
16   was 53 minutes and 59 seconds long. Upon information and belief, it was the 140th episode
17   of the Best Case Worst Case podcast. At around the 33rd minute of the podcast, Special
18   Agent Tony Logan begins his discussion of the seizures. A copy of the original podcast
19   from August 30, 2019 will be concurrently submitted as Exhibit 9. A transcript of the
20   relevant portions of the podcast is attached hereto as Exhibit 10. On or about October 11,
21   2019, Best Case Worst Case released a new episode, Episode No. 146, wherein the hosts
22   interview Special Agent Logan. Episode 146 is 36 minutes long and does not contain a
23   discussion of Mr. Grey’s case. I reviewed the Apple Podcasts page for Best Case Worst
24   Case. Episode 140 is no longer available.
25         10.    On December 4, 2019, I sent an email to Agents Hannah Monroe and Evan
26   Guevarra of the FBI and Assistant United States Attorney Kevin Reidy regarding the
27   additional currency seized from Mr. Grey as described in the Best Case Worst Case podcast
28
                                              2
                                MOTION FOR RETURN OF PROPERTY
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 15 of 57 Page ID #:830


1    and requesting the return of the remaining funds. I received no response from the
2    government. Attached hereto as Exhibit 11 is a true and correct copy of the email.
3          11.    On December 12, 2019, I sent a follow up email regarding the return of Mr.
4    Grey’s property. I received no response from the government. Attached hereto as Exhibit
5    12 is a true and correct copy of the email.
6          12.    In January 2020, I was informed that FBI Associate Division Counsel
7    Anthony Montero stated that the FBI has no additional funds to return to Mr. Grey.
8
9          I declare under penalty of perjury under the laws of the United States of America that
10   the foregoing is true and correct.
11         Executed on December 23, 2020, at Los Angeles, California.
12
13                                                 By:
14                                                       Reuven L. Cohen
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               3
                                 MOTION FOR RETURN OF PROPERTY
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 16 of 57 Page ID #:831




                           EXHIBIT 1
         Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 17 of 57 Page ID #:832
                                                                         RECEIVED
                                                                           Superior Court of Californin
                                                                             County of Los Aneeles
                                                                                                     dA
                                                                                                          LI
FRANZ GREY APPEARING IN PROPRIA PERSONA #24086-OO9                              JUL ol?afi
MDC PO BOX l- 500 , LoS ANGELES , CA 900 53
                  IN THE SUPERIOR COURT OF T:{E STATE OF C             oRNt{o                   RIC
                            FOR THE COUNTY OF LOS ANGELES


 P{s,flE1FNF$W,of                                                  R
    AA
    LA                                             Wfg,/,F*
        \i
 FRANZ GBEY                                                  f@eunrv
              /                                              CAS   E +i MAO 7 39 46

RELIEF SOUGHT:
       THE DEFENDANT FRANZ GREY, APPEARING IN PROPRIA PERSON A MOVES
THIS HONORABLE COURT FOR AN ORDER TO RE,IURN ALL PROPERTY FROM THE
SHERIFF'S DEPARTMENT THAT WAS ILLEGALLY SEIZED AND THE DEFENDANT HAS
SINCE BEEN ACQUITTED OF ALL CHARGES THAT THE SHERIFF'S DEPARTMENT FALSELY
ACCUSED THE DEFENDANT OF.
       GROUNDS FOR RELIEF:
  - THE DEFENDANT, FRANZ GREY ASSERTS THAT HE IS THE LAWFUL OWNER
OF THE PROPERTY THAT IS LISTED IN THE SCHEDULE ATTACHED TO AND INCOR-
PORATED IN THIS MOTION AS EXHIBIT A1 . THIS PROPERTY WAS SEIZED FROM
THE DEFENDANT ON MAY 3Td, 2018 aL 9:OO am. THE SHERIFF'S DEPARTMENT
SUBSEQUENTLY WENT To JUDGE CHUNG AT 4:00 pm later rhat day and falsified
an affidavit and deliberately misred Judge chung AT 4:00 pM TRyrNc
TO MAKE A BAD SEARCH GOOD. NEVERTHELSESS DEFENDANT HAS SINCE HADA
                                                                      A
FINAL ADJUDICATION RENDERING THE DEFENDANT CLEARED AND EXONERATED
                                                                     OF AL L
FALLSE CHARGES AND ACCUSATIONS AGAINST HIM. THE SEARCH
                                                          OF THESE PREMISES
AND THE SEIZURE OF THIS PROPERTY WAS UNLAI,IFUL
                                                BECAUSE THE DEPUTY SHERIFF,S
THREATENED TO SHOOT AND TO KILL THE DEFENDANTS
                                                 REGISTEREED SERVICE
ANIMAL IF THE DEFENDANT REFUSED TO ALLOW THE DEPUTIES
                                                        ENTRENCE TO THE
PROPERTY. THE PROPERTY WAS SEIZED AGAINST THE DEFENDANTS
                                                             L7ILL, WITHOUT
A SEARCH I^IARRANT, FROM HIS RESIDENCE WITH No PRETENSE
                                                        oF ANY I EXIGENT
CIRCUMSTANC ES, WITHOUT BEING IN PLAIN
                                         VIEW, AND WITHOUT ANY PROBABLE
CAUSE TO BELIEVE THAT ANY CRIME WAS
                                      BEING OR HAD BEEN COMMITTED ON THE
DEFENDANTS RESIDANCE.




                         (+ds I cf
      Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 18 of 57 Page ID #:833

                                                                                     50

       PURSUANT TO THE EXCLUSIONARY RULE ADOPTED BY THE COURTS OF THE
  STATE OF CALIFORNIA AND THE SUPREME COURT OF THE UN ITED STATES AND
CALTHE  CALIFORNIA XI{EXXIIEXXtrX STATE CONSTITUTIO AND THE UNITED STATES
 CONSTITUTIOI\ 1,0 TO PROTECT THE FOURTH AMENDMENT RIGHTS OF THE DEFENDANT
 AND PERSONS SIMILARLY SITUATED, THE DEFENDANT IS ENTITLED TO HAVE THE
 PROPERTY LISTED IN THE ATTACHED SCHEDULE RETURNED TO HIM WITHOUT DELAY
 ACCORDING TO THE PROCEDURES ENUMARATED IN THE CALIFORNIA RULES OF
 CRIMINAL PROCEDURE AND RULES OF COURT.
       FURTHERMORE, BECAUSE THE DEEENDANT IS ENTITLED TO LAWFUL POSSESSION
 OF THE PROPERTY LISTED IN THE SCHEDULE,, AND BECAUSE THE GOVERNMENT
 HAS NO LEGITIMATE NEED EOR THIS PROPERTY ONCE ITS USE AS EVIDENCE
 AGAINST THE DEFENDANT HAS BEREN COMPLETELY DISMISSED AND ACQUITTED
 THE PROPERTY SHOULD BVE RETURNED TO THE DEFENDANT WITHOUT DELAY.


                                             RESPECTFULLY SUBMITTED




                                                 FRANZ   GREY   JUNE   2L,   2 018




                  qg .u         ?oF
       Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 19 of 57 Page ID #:834

                                                                                     5t
                                     EXHIBIT   A1


                       PROPERTY TO BE RETURNED IMMEDIATELY


L.           ALL U.S.   CURRENCTES   SETZED.   APPRoXTMATELY   $500,000.00      US
DOLLARS.
2.           ALL SILVER BOULI0N AND SILVER DOLLARS OVER        50 in   TOTAL.
3.           ALI, GOLD COINS APPROX 6 OUNCES.
4.           ALL RARE EARTH METAL COINS AND BARS SEIZED
5.           ALL COMPUTERS AND DIGITAL DEVICES THAT WERE ILLEGALLY SEIZED.
6.           ALL FIREARMS THAT I/OERE AND ARE PROTECTED UNDER THE SECOND
AMENDMENT OF THE UNISTED STATES CONSTITUTION AND THE           BILL OF RIGHTS
DC   V HELLER US SUPREME     COURT
7.           ALL AMMUNITION AND RELOADING SUPPLIES

8.           ALL   PAPERS AND ARTIFACTS SEIZED THAT ARE PROTECTED UNDER THE
UNITED STATES AND CALIFORNIA CON STITUTIONS.

10.       EVERYTHING THAT WAS ILLEGALLY SEIZED AND THE DEFENDANT I,IAS
COMPLETELY ACQUITTED AND EX ONERATEED FOR INCLUDING BI.]T7. NOT LIMi'I'ED TO
EVERYTHING SPECIFICALLY ITEMIZED IN THIS LIST AND THE FOLICE AND SIiERIFF'S
INVENTORY.




                      q?u 3 o r+
         Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page\ 20 of 57 Page ID #:835
         F
                                             i
                                                                                         :t
                                                                                               1




                                                                                                                 5L
              ON THIS                 DAY    OF               EXxx zoLB
 THE HONORABLE         JUDGE                                             , IN      DIV.
HEREBY GRANTS        THIS        MOTION           FOR   RETURN OF PROPERTY



THE MONIES TO BE SENT BY CASHIERS CHECK                             TO    :       rose marie welch,
4342     W. 165tth           s   treet,          LAI,ilNDALE   CA   90260     .    in the amoun t o f
(
Y.

FURTHERMORE        IT IS     HEREBY ORDERED              thaU any and all propert,ies including
BUT NOT LIMITED TO EVERYTHING INCLUDED                           IN THE ATTACHED EXHIBIT A1 AS
I^JELL   AS THE ENTIRE INVENTORY AS ITEMIZED BY THE LOS ANGELES COUNTY
SHERIFF'' S DEPARTMENT            .    TO BE DELIVERED           BY                                UPS OR   IN   TO RgSE   WELCII

THE ALTERNATIVE TO ABOVE ADDRESS                                                     THE COSTS TO BE         BORNE

BY               SHERIFF''   S    DEPT   .               OR                       DEDUCTED FROM DEFENDANTS

$500, 000.     00 us   CURRENCY.



             THE HONORABLE        JUDGE                                              )        IN DIV



Hunss$v cRANTS THrs MorroN FoR RETURN oF pRopERTy oN THrs DAy
                     oF           2018




                                 ff^g* ?oF +
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 21 of 57 Page ID #:836




                           EXHIBIT 2
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 22 of 57 Page ID #:837
                         ,i
                         ,l                                       ir
                                                                  !il


                              "   ,i                                    ,c
                                                                             ll




                                                                                       SU
                                                                                            *,'.,                                              NIA

                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                       FOR THE COUNTY OF LOS ANGELES                                                rul qqeotCI6
                                                                                  SHERRI R                     t;r    :
                                                                                                               rr    /1.   uirrurffuttilK 0f   COURI
 People of the State of California           )   No. MA073946                                                                           ,DEPUry
                                                                                                    tvl   EB               YES
                                             )
 VS                                          )
                                             )   ORDERONMOTION FOR
 FRANZ GREY,                                 )   RETURI\ OF PROPERTY
 Defendant                                   )
                                             )

  The court received the Motion for Return of Property in the above-entitled case on July 2,
  2018. Petitioner claims that the property was illegally seized, and that he "has since been
  acquitted of all charges."

  To be clear, Petitioner was not, indeed, acquitted. The People announced unable to
  proceed within the statutory time period for trial, so the defense motion to dismiss
  pursuant to Penal Code section 1382 was granted.

  The court notes that Petitioner currently is incarcerated, serving a sentence in case
  number BA3L4L7L The property seized during the service of the search warrant in case
  MAO73946 consists of narcotics, weapons, and ammunition. Penal Code section 1536
  requires that any property taken during the seryice of a wanant be retained by law
  snforcement, subject to court order. Because items seized during the service of a warrant
  are often contraband, it is not common practice that they be released to the subject of the
  warrant, even upon completion of the criminal proceedings. To release drugs and
  firearms to a subject who is incarcerated would be absurd.

  If Petitioner is seeking return of non-contraband, personal property, he must file a proper
  motion, noticing the arresting agency and the D.A.'s Office, specifying what items he
  seeks released back to him. He has not done so here. The court cannot act as Petitioner's
  legal runner. Therefore, his requests for forms and information, as well as his request for
  return of property, respectfully are DENIE[).

  Dated: July 19,20L8

                                                              of the Superior Court

  A copy of this order is sent via US mail addressed as follows:
  FRANZ GR8Y,24086-009
  METROPOLITAN DETENTION CENTER, P.O. BOX 1500
  LOS ANGELES, CA 90053

  L.A. COUNTY DISTRICT ATTORNEY                                                    a

  420L1 4th STREET                                                                      It tOrrtA
  LANCASTER, CA 93534
    Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 23 of 57 Page ID #:838
                                                                              trl
                                                                              !i
                                                                                    .i




                        SUPE,RIOR COURT OF THE STATE OF CALIFORI.{IA

                    COUNTY OF LOS ANGELES, NORTH JUDICIAL DISTRICT
                                                           )
       People of the State    of                           )
       California                                          )
                                                           )    MAO73946
                                                           )
                                                           )
                                                           )    Letter
                                                           )
                                                           )
       Grey, Franz                                         )
                                                           )
                                                           )
                                                           )




                The court has reviewed petitioner's 2 page typewritten letter received 8125/18 wherein he
        inquires of this court whether it'possibly signed 3 separate search warrants.' This request is an
       ex parte request and is not the appropriate procedure to litigate any proposed motions. Review of
       the court file shows this case is no longer active. To the extent petitioner is alleging that the
       sheriff deputies signed and falsified their affidavits, this court notes there is no pending motion
       and this court can not act as an advocate with petitioner's request to be a witness on his behalf.
                Review of the recent minute orders show that a motion to return property and suppress
       evidence was received and forwarded to the bench officer in Department A-21. At this time, no
       further action will be taken by this court.



       Clerk to give notice



      September 12,2018
                                               Lisa Chung,               I9
                                               Los Angeles County Superior Court




                                                       I

\
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 24 of 57 Page ID #:839




                           EXHIBIT 3
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 25 of 57 Page ID #:840
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 26 of 57 Page ID #:841




                           EXHIBIT 4
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 27 of 57 Page ID #:842
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 28 of 57 Page ID #:843




                           EXHIBIT 5
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 29 of 57 Page ID #:844


Reuven L. Cohen
Tel: 213-232-5163
rcohen@cohen-williams.com                                     COHEN WILLIAMS LLP

                                                                                8/21/2019
VIA Priority Mail

Forfeiture Paralegal Specialist
Federal Bureau of Investigation
11000 Wilshire Blvd.
Suite 1700, FOB
Los Angeles, CA 90024

        Re: $40,000 in U.S. Currency
Dear Sir or Madam,
       I represent Franz Grey ("Claimant"), who is the owner of the currency described above. The
U.S. currency was seized on or about on May 31, 2018, at 42957 38th Street West in Lancaster,
California and Claimant claims ownership of the currency and hereby contests its seizure and forfeiture.
By countersigning below, Claimant makes this claim under oath, subject to the penalty of perjury.
Please direct all future correspondence or communication regarding this matter to me.




       By my signature below, I hereby state and declare that, I am the owner of the seized property
described as $40,000 in U.S. Currency seized from various locations in at 42957 38th Street West in
Lancaster, California and I contest the seizure and forfeiture of the currency. Should the Federal
Bureau oflnvestigation release my funds, please direct payment to Cohen Williams LLP. I declare
under penalty of perjury that the foregoing is true and correct. Executed this August 15, 2019 at Los
Angeles, California.


?)�
 Franz Grey



cc:     Assistant United States Attorney Kevin Reidy, Special Agent Hannah Monroe


724 South Spring Street, 9th Floor
Tel: 213-232-5160
Los Angeles, CA 90014
Fax: 213-232-5167
                                                                                  www.cohen-williams.com
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 30 of 57 Page ID #:845




                           EXHIBIT 6
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 31 of 57 Page ID #:846
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 32 of 57 Page ID #:847




                           EXHIBIT 7
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 33 of 57 Page ID #:848




                                                              GREY_00000713
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 34 of 57 Page ID #:849




                                                              GREY_00000714
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 35 of 57 Page ID #:850




                                                              GREY_00000715
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 36 of 57 Page ID #:851




                                                              GREY_00000716
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 37 of 57 Page ID #:852




                                                              GREY_00000717
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 38 of 57 Page ID #:853




                           EXHIBIT 8
                      Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 39 of 57 Page ID #:854
                                                                                           ,   f$$ffi:$'.oF Los Ai.iGELrs
         -t

                                                               .,t't = *                  --        s|:l€ftiEf5 [E;AILl.\1Ir",rf                                           r.-Ss

                                                                                                                                                             .'   , .!>- i* s.i , --.- :*Ep ,.
                                                            ,':-
                                                                   " :,'+*L$*€*s'E4ulpPreffi .frHfet*iEPeffiT

  iT\.,/l     -r a,
                                               -:       - ril :                            Fi{iE:     9-:lt;- (rAr5E:J-    jI:19,2--lt5,li             ACfi-l€i}.,i:   }rddiitiicrrral !i*fc,rmlatie*rrr
   r.                   Pc,s,s,as,slicg!                c,f        a.'   Cc'rrtr,&]led      S;xrt,Erta,r,ce'   'ni:ith ar tra;rarut:X F':iae.a;aaa 313:iet .1il9,,/T'l!S!
   re--
   it
   i:q.
   l*"                  tia   e1s7   ,    irY a.rl.rz   ,     $l&'- 1 ,Li / 2' [.r / #,
   ii
   ,,|


   ;--**-,-
   lr

   :i




                                                                                                         L!4BnrirlldE
  I'i:r; 4r,.qp,;-.,g; r:,:_ t}:is                                 s r:grpien:,utrLa      I rair;.ft re tc ptLrvide                a   .rd1.L   ir   o,r,iirl ]l)trf{,u:rattar]           r€qal.dillij uhe
  at{-rre fi l€ Jiiint)ea.

 tln: h!,/7? /a*, f, t*,:,lk [.,f-'Es,snsiD]i c,f t"J"r*                                            fc,":i-1 a,!o.,ii1q   fi:,r:rjs. f:i:c,.,:, tr-r;tei,trtr= oJ. C'aii;,c; #4J].fll?:

 i.               Yei                 al iCat cir
                        J c-)r-l Iri€.L
 :.              Y*.l-t1cr*;     Iiitai i'!.iairr wi;.,-h Fet:da::i-
 "1
    .            fel*r-'r., i,-1etal i,ir:,1
 "l .            P'Jas,tic ci:lttaii:*:r r;u;tt..:l:rr.::c .t),rijl!ii' 1:iIl ] )T)14 f,;ilv;r                                           L;i,.ril;r-:_*,
 :,.             !i-a..t:.: i:i-,jjt.rillt.:1 rii.,lJiajr;.:.,; Llra:,"1T:' (.iil,' i;'y,-1:. _1,:-ti;..r-                               j,;r,:l l-:--.

 Tjj€ jrerls aer.e ir:ru:-.d iy tehei-.!ia'€ rrfc,aa.rr,.,r,qsh a largE ,jrrc,!:,rt l]i iJ.s. r.rr,!.Ellr1, )il., i cb                                                                               ?:aE
 ,94j:!ed. I i-: ansrl{)l Led tl!+ iL€rjs tL' l,aliL-dstg!. -c!:atj.rl:r dtlil t,rol+.ed tl:e:l i!:li;, tl-,e ,16t.j:
 Ct,r,_,irarrder r6 Eaf€ iiitder "E;fe j{eeplr('i

 Li€iit-€Jlar' F. foites +,i11929 a},l].r,ve,l ttie E:-i1srr!




                                                                                                         DATE:                   TIME:
EY;                                  Depury A" cha                               L   +5   27452       e5     LTlte               1622
AFPROVED:
                                                                                                                           --Usae-
ASSIGNED:


SECRETAF,'i:


5t-r-R-77 iRED                ltpi       REytSloN 08, 17
                                                                                                                                                                                                    Fage   1
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 40 of 57 Page ID #:855




                           EXHIBIT 9
            INTENTIONALLY BLANK
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 41 of 57 Page ID #:856




                           EXHIBIT 10
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 42 of 57 Page ID #:857



1                              Best Case Worst Case Podcast Transcript

2    32:00

3    Agent:           The thing about this guy which was the most fascinating to me was, he had killed

4                     like 2, 3, or 4 people prior to this point and was living in Lancaster, just free. And

5                     never did any like serious jail time. He made his way from Pennsylvania out to

6                     California and was living. So, and it was all in weird ways. So the first person he

7                     had killed, he was upset at a party when he was younger. I think the guy’s maybe in

8                     his 50s now. But he was like maybe in his 20s, he was upset at a party. He leaves,

9                     comes back, shoots randomly into the house, kills some random girl at the party.

10                    And didn’t do like any significant time for it.

11   Host (Male):     Why?

12   Host (Female):   What?

13   Agent:           I have no idea. It was like in the 80s. And I was looking at it, so that was surprising.

14   Host (Male):     But he killed people after that too?

15   Agent:           Right. So then the next person he killed, I think he like either sicked his dog or

16                    something. But he got someone like mauled to death essentially. With his dog.

17   Host (Female):   Jim, this is bizarre.

18   Agent:           Very bizarre. That’s what I’m saying. I’m reading this, I’m like how is this real life.

19                    So, and then the third person, I don’t remember what happened with the third

20                    person. But it was something super bizarre as well. But yeah, he just did like some

21                    little bit of time like a year, two or four, whatever. And then he was just, that was it.

22                    Then he was living in Lancaster.

23   Host (Male):     Multiple.

24   Host (Female):   What a travesty.

25   Host (Male):     Multiple murders.

26   Agent:           Yeah.

27   Host (Male):     And he’s doing a year or two.

28   Agent:           Yeah.
                                                       1
                                                TRANSCRIPT
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 43 of 57 Page ID #:858



1    Host (Male):     Okay.

2    Agent:           And that’s when I asked my partner.

3    Host (Male):     And living large in Lancaster.

4    Agent:           Living large in Lancaster.

5    Host (Female):   Behind barbwire.

6    Agent:           Riding around. I mean they hit it, when they did the original warrant on his house.

7                     Just to show you how, just again, how bizarre these people are. Because I don’t

8                     remember if he was selling drugs. I don’t think he was selling drugs. Every time

9                     they, they hit his house the first time, he had like 200-250,000 dollars cash in his

10                    safe. So, of course we take it cause we’re like this guy doesn’t have a job. He had all

11                    these crazy like CTT, you know surveillances set up in his house. And all these

12                    weird guns he was trying to create, so we took all the stuff. And the second time,

13                    when I was there, they hit his house again, and this was only like two weeks later.

14                    He had another 2 or 300,000 dollars of cash.

15   Host (Male):     What?

16   Agent:           We are like where is this guy getting money from. He has no money in his bank

17                    accounts.

18   Host (Male):     Maybe he’s printing it.

19   Agent:           No, it was real money. Both times when they went there. He just had large amounts

20                    of cash. And umm…

21   Host (Male):     And no banks, right?

22   Agent:           No banks.

23   Host (Male):     You don’t use banks, right?

24   Agent:           Don’t believe in the banks, so that’s why they keep all their cash.

25   Host (Female):   So here’s what is interesting to me, because Jim, I’m a trained prosecutor.

26   Host (Male):     Oh, well.

27   Host (Female):   I noticed that earlier you said you were assigned to the counter terrorism domestic

28                    terrorism squad. And my gun antenna went up when you said it looked like he was
                                                       2
                                                TRANSCRIPT
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 44 of 57 Page ID #:859



1                     making guns. So was that the hook in, the federal jurisdictional hook in or how did

2                     you guys get in involved? Why were you involved in this?

3    Agent:           Well he was…yeah the guns was, was one of the big factors why we got involved.

4                     Because he had a lot of guns and then he was also making them. So it wasn’t only

5                     that he was making them. He already had like actual shotguns and like military style

6                     weapons at his house. He was threatening his neighbor and saying that there’s laser

7                     beams coming down onto his house. And the government…. a lot of that type stuff

8                     so you know he was saying that people were out to get him and he was preparing for

9    Host (Male):     You know, I was in the FBI for 22 years. You haven’t been in for quite that long,

10                    but you’re in the FBI. Have you ever met anybody who was on the laser beam

11                    squad?

12   Agent:           You know, I haven’t met anyone who was on the laser beam squad yet. I heard it

13                    was a private thing.

14   Host (Male):     Oh yeah. Cause I haven’t met anybody on the laser beam squad or the x files squad.

15                    And I was just hoping that maybe you might have run into them because I never did

16                    in my entire in 22 years with the FBI.

17   Agent:           No, not, not at all.

18   Host (Male):     But apparently, we have some pretty high-tech equipment, right? Shooting laser

19                    beams at this guy.

20   Agent:           Yeah.

21   Host (Male):     You know.

22   Agent:           I had to sit in the car with this guy for two hours. We were taking him from

23                    Lancaster to like Men’s Central, something downtown, and like to the federal. It

24                    was bad. The whole time he was just talking about how much he could help us.

25                    How, you know, the government, they had been shooting laser beams into his phone

26                    and that’s why the stuff in his house is melted. He had a whole bunch of tools and

27                    stuff from the guns he had been making or trying to make in his house. He was like,

28
                                                     3
                                               TRANSCRIPT
     Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 45 of 57 Page ID #:860



1                     yeah that’s why they are melted because the government was coming in and they

2                     were doing all this stuff. It was bizarre. Very bizarre.

3    Host (Male):     When I was a first office agent in New York, I was on the bank robbery joint task

4                     force with NYPD. And… So we also did, we were the violent task squad and we

5                     also did threats and terrorism cases at the time, domestic stuff. But it was much

6                     more low scale. But it was much more low key, low scale. And we would get, I

7                     remember one case was threats against the pope and Rudy Guiliani. And we would

8                     get, we call them short of the tin foil hat people, who think they are getting the rays

9                     from the outside and they are controlling. And this one woman had taken cans of

10                    paint, black paint, and just splashed it over her entire interior of her apartment.

11                    Everything including the bathroom, mirrors, and windows. And she has one piece of

12                    furniture, which was a couch with the legs cut off, so sitting on the floor. And it

13                    was, it was sad. And then, I remember another woman who had her entire apartment

14                    was filled with newspaper, but she had made paths. So there were literally like walls

15                    of newspaper on either side and there was a path from the front door to the kitchen

16                    to the living room and to the bedroom, but there was no place to sit anywhere

17                    because it was all covered in newspaper. But there are people who are tortured by

18                    these thoughts and ideas. And people who literally line their walls with aluminum

19                    foil and do all sorts of things because they believe the government is doing this. But,

20                    I also think that some of these sovereign citizens are doing it just to try to avoid

21                    paying taxes and just because they don’t trust the government. And they are not

22                    actually driven by delusions or other things.

23
24
25
26
27
28
                                                       4
                                                TRANSCRIPT
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 46 of 57 Page ID #:861




                           EXHIBIT 11
8/21/2020   Case 2:18-cr-00412-CAS Document Cohen Williams12/23/20
                                            96 Filed       LLP Mail - Franz Grey 47 of 57 Page ID #:862
                                                                          Page


                                                                              Rebecca Lessler <rlessler@cohen-williams.com>



  Franz Grey
  Reuven Cohen <rcohen@cohen-williams.com>                                                 Wed, Dec 4, 2019 at 3:20 PM
  To: "Monroe, Hannah (LA) (FBI)" <hmmonroe@fbi.gov>
  Cc: "Guevarra, Evan (LA) (OGA)" <eguevarra@fbi.gov>, Marc Williams <mwilliams@cohen-williams.com>, Rebecca Lessler
  <rlessler@cohen-williams.com>, "Reidy, Kevin (USACAC)" <Kevin.Reidy@usdoj.gov>, Alyssa Bell <abell@cohen-
  williams.com>

    Agent Monroe, hi. I hope that you've been well and had a nice Thanksgiving.

    It came to my attention recently that the FBI is, or may be, in possession of additional funds that belong to my client Franz
    Grey, and that should be returned to him.

    I don't know if you've listened to it, but Special Agent Tony Logan gave an interview to the podcast Best Case Worst Case
    wherein he described Mr. Grey's case in detail. Special Agent Logan explained that the FBI first raided Grey's house and
    seized $200 - $250,000, and, about two weeks later, raided again and seized another $250 - $300,000. Special Agent
    Logan made those statements around the 34th minute of the podcast, if you've listened to it.

    To date, our firm has taken possession of $281,699.00 on Mr. Grey's behalf. Mr. Grey has consistently maintained that the
    FBI seized more than that, and Special Agent Logan has now confirmed as much.

    Kindly let me know what our next steps are to get the remaining funds returned to our client. Previously, the FBI has
    required us to formally ask for funds before returning the funds. If this request is not formal enough, just let us know what
    is required.
    Many thanks.

    Reuven L. Cohen
    Cohen Williams LLP
    724 South Spring Street, 9th Floor
    Los Angeles, CA 90014
    Tel: 213-232-5163
    Fax: 213-232-5167
    rcohen@cohen-williams.com
    www.cohen-williams.com


    On Sat, Aug 24, 2019 at 4:36 PM Monroe, Hannah (LA) (FBI) <hmmonroe@fbi.gov> wrote:
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=f7b7436077&view=pt&search=all&permmsgid=msg-f%3A1652033208880060987&simpl=msg-f%3A16520332088…   1/1
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 48 of 57 Page ID #:863




                           EXHIBIT 12
8/21/2020   Case 2:18-cr-00412-CAS Document Cohen Williams12/23/20
                                            96 Filed       LLP Mail - Franz Grey 49 of 57 Page ID #:864
                                                                          Page


                                                                              Rebecca Lessler <rlessler@cohen-williams.com>



  Franz Grey
  Reuven Cohen <rcohen@cohen-williams.com>                                                 Fri, Dec 13, 2019 at 10:00 AM
  To: "Monroe, Hannah (LA) (FBI)" <hmmonroe@fbi.gov>
  Cc: "Guevarra, Evan (LA) (OGA)" <eguevarra@fbi.gov>, Marc Williams <mwilliams@cohen-williams.com>, Rebecca Lessler
  <rlessler@cohen-williams.com>, "Reidy, Kevin (USACAC)" <Kevin.Reidy@usdoj.gov>, Alyssa Bell <abell@cohen-
  williams.com>

    Hi, everyone. I'm just circling back on this issue. Thanks in advance.

    Reuven L. Cohen
    Cohen Williams LLP
    724 South Spring Street, 9th Floor
    Los Angeles, CA 90014
    Tel: 213-232-5163
    Fax: 213-232-5167
    rcohen@cohen-williams.com
    www.cohen-williams.com

    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=f7b7436077&view=pt&search=all&permmsgid=msg-f%3A1652828437015912250&simpl=msg-f%3A16528284370…   1/1
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 50 of 57 Page ID #:865




                           EXHIBIT 13

           INTENTIONALLY BLANK
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 51 of 57 Page ID #:866




                           EXHIBIT 14
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 52 of 57 Page ID #:867
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 53 of 57 Page ID #:868
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 54 of 57 Page ID #:869
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 55 of 57 Page ID #:870




                           EXHIBIT 15
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 56 of 57 Page ID #:871




                                                              GREY_00000451
Case 2:18-cr-00412-CAS Document 96 Filed 12/23/20 Page 57 of 57 Page ID #:872




                                                              GREY_00000452
